                 Case 2:23-cv-00630-JLR Document 95 Filed 08/01/24 Page 1 of 4




 1                                                   THE HONORABLE JAMES L. ROBART
 2

 3

 4

 5

 6

 7                          IN THE UNITED STATE DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     ANNA PATRICK, DOUGLAS MORRILL,              Case No. 2:23-cv-00630- JLR
10   ROSEANNE MORRILL, LEISA
     GARRETT, ROBERT NIXON,                      STIPULATION AND [PROPOSED] ORDER
11   SAMANTHA NIXON, DAVID                       REGARDING BRIEFING SCHEDULE FOR
     BOTTONFIELD, ROSEMARIE                      THE LAMPO DEFENDANTS’ MOTION TO
12
     BOTTONFIELD, TASHA RYAN,                    STAY
13   ROGELIO VARGAS, MARILYN DEWEY,
     PETER ROLLINS, RACHAEL ROLLINS,             Noted: August 1, 2024
14   KATRINA BENNY, SARA ERICKSON,
     GREG LARSON, and JAMES KING,
15   individually and on behalf of all others
     similarly situated,
16

17        Plaintiffs,

18   v.
19   DAVID L. RAMSEY, III, individually;
20   HAPPY HOUR MEDIA GROUP, LLC, a
     Washington limited liability company; THE
21   LAMPO GROUP, LLC, a Tennessee
     limited liability company,
22
          Defendants.
23

24

25

26
      STIPULATION AND [PROPOSED] ORDER REGARDING                 MORGAN, LEWIS & BOCKIUS LLP
                                                                    1301 SECOND AVENUE, SUITE 3000
      BRIEFING SCHEDULE FOR THE LAMPO                                 SEATTLE, WASHINGTON 98101
                                                                   TEL (206) 274-6400 FAX (206) 274-6401
      DEFENDANTS’ MOTION TO STAY – PAGE 1
      Case No. 2:23-cv-00630-JLR
                 Case 2:23-cv-00630-JLR Document 95 Filed 08/01/24 Page 2 of 4




 1             Defendants David L. Ramsey III and The Lampo Group, LLC (the “Lampo Defendants”)

 2   and Happy Hour Media Group, LLC and Plaintiffs hereby stipulate and agree as follows:

 3             WHEREAS, on July 25, 2024, the Lampo Defendants filed a Motion to Stay Proceedings

 4   Pending a Ruling On Defendants’ Motion to Compel Arbitration (Dkt. No. 88) (the “Motion to

 5   Stay”);

 6             WHEREAS, the Motion to Stay is currently noted for consideration on August 15, 2024;

 7             WHEREAS, the parties have conferred and agree that there is good cause to extend the

 8   response and reply deadlines according to the agreed briefing schedule set forth below.

 9             THEREFORE, the parties have agreed to the following deadlines and respectfully ask that

10   the Court enter an Order adopting them and re-noting the Motion to Stay for consideration on

11   August 23, 2024:

12                   Response to the Motion to Stay:                              August 15, 2024

13                   Reply in support of the Motion to Stay and Noting Date:      August 23, 2024

14

15             STIPULATED TO this 1st day of August, 2024.

16
     ALBERT LAW PLLC                                     MORGAN, LEWIS & BOCKIUS LLP
17
18   By: s/ Gregory Albert                               By: s/ Damon Elder
     Gregory W. Albert, WSBA #42673                      Patty A. Eakes, WSBA No. 18888
19   Jonah L. Ohm Campbell, WSBA #55701                  Damon C. Elder, WSBA No. 46754
20   Tallman Harlow Trask, IV, WSBA #60280               Andrew DeCarlow, WSBA No. 54471
     3131 Western Ave, Suite 410                         1301 Second Avenue, Suite 3000
21   Seattle, WA 98121                                   Seattle, WA 98101
     Phone: (206) 576-8044                               Phone: (206) 274-6400
22   Email: greg@albertlawpllc.com                       Email: patty.eakes@morganlewis.com
             jonah@albertlawpllc.com                             damon.elder@morganlewis.com
23           tallman@albertlawpllc.com                           andrew.decarlow@morganlewis.com
24
                                                         Attorneys for Defendants David L. Ramsey, III
     –and–
25                                                       and The Lampo Group, LLC

26
      STIPULATION AND [PROPOSED] ORDER REGARDING                        MORGAN, LEWIS & BOCKIUS LLP
                                                                            1301 SECOND AVENUE, SUITE 3000
      BRIEFING SCHEDULE FOR THE LAMPO                                         SEATTLE, WASHINGTON 98101
                                                                           TEL (206) 274-6400 FAX (206) 274-6401
      DEFENDANTS’ MOTION TO STAY – PAGE 2
      Case No. 2:23-cv-00630-JLR
              Case 2:23-cv-00630-JLR Document 95 Filed 08/01/24 Page 3 of 4




 1   FRIEDMAN RUBIN PLLC                      CORR CRONIN LLP
 2
     By: s/Roger Davidheiser                  By: s/ Jack Lovejoy
 3   Roger S. Davidheiser, WSBA #18638        Jack Lovejoy
     1109 1st Ave, Ste 501                    1015 Second Avenue, Floor 10
 4   Seattle, WA 98101-2988                   Seattle, WA 98104-1001
 5   Phone: (206) 501-4446                    Phone: (206) 625-8600
     Email: rdavidheiser@friedmanrubin.com    Email: jlovejoy@corrcronin.com
 6
     Attorneys for Plaintiffs                 Attorney for Defendant Happy Hour Media
 7                                            Group, LLC
 8

 9

10

11

12

13

14

15

16

17
18

19

20

21

22

23

24

25

26
     STIPULATION AND [PROPOSED] ORDER REGARDING             MORGAN, LEWIS & BOCKIUS LLP
                                                               1301 SECOND AVENUE, SUITE 3000
     BRIEFING SCHEDULE FOR THE LAMPO                             SEATTLE, WASHINGTON 98101
                                                              TEL (206) 274-6400 FAX (206) 274-6401
     DEFENDANTS’ MOTION TO STAY – PAGE 3
     Case No. 2:23-cv-00630-JLR
              Case 2:23-cv-00630-JLR Document 95 Filed 08/01/24 Page 4 of 4




 1                                      [PROPOSED] ORDER

 2          IT IS SO ORDERED.
 3

 4          DATED this ______ day of ____________, 2024.
 5

 6

 7                                              THE HONORABLE JAMES L. ROBART
                                                UNITED STATES DISTRICT JUDGE
 8

 9

10   Presented by:

11   MORGAN, LEWIS & BOCKIUS LLP

12
     By: s/ Damon Elder
13   Patty A. Eakes, WSBA No. 18888
     Damon C. Elder, WSBA No. 46754
14   Andrew DeCarlow, WSBA No. 54471
     1301 Second Avenue, Suite 3000
15   Seattle, WA 98101
16   Phone: (206) 274-6400
     Email: patty.eakes@morganlewis.com
17           damon.elder@morganlewis.com
             andrew.decarlow@morganlewis.com
18
     Attorneys for Defendants David L. Ramsey, III
19
     and The Lampo Group, LLC
20

21

22

23

24

25

26
      STIPULATION AND [PROPOSED] ORDER REGARDING               MORGAN, LEWIS & BOCKIUS LLP
                                                                  1301 SECOND AVENUE, SUITE 3000
      BRIEFING SCHEDULE FOR THE LAMPO                               SEATTLE, WASHINGTON 98101
                                                                 TEL (206) 274-6400 FAX (206) 274-6401
      DEFENDANTS’ MOTION TO STAY – PAGE 4
      Case No. 2:23-cv-00630-JLR
